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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

In re:                                         Case No. 18-30975-KKS
                                               Chapter 7
John Seibert
Alice Seibert


         Debtors           /

  ORDER APPROVING CHAPTER 7 TRUSTEE’S APPLICATION TO
RETAIN BK GLOBAL REAL ESTATE SERVICES AND RE/MAX BY THE
   SEA TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO
             11 U.S.C. §§327, 328 AND 330 (DOC. 41)
         Upon the Notice and Application of Marybeth Colon, the trustee in the above-

captioned case (“Trustee”), to Retain BK Global Real Estate Services and RE/MAX

By The Sea to Procure Consented Public Sale pursuant to 11 U.S.C. § § 327, 328

and 330 (“Application”) [Docket No. 41], the Court having reviewed and considered

the Notice, Application and the Affidavit of Disinterestedness and having found

good and sufficient cause appearing therefor and the same to be in the best interest

of Debtors’ and the creditors that:




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        A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §

     157(b)(2).

        B. Venue of this Chapter 7 case and the Application is proper pursuant to

     28 U.S.C. §§ 1408 and 1409.

        C. Notice of the Application was sufficient under the circumstances.

             Based upon the foregoing, it is hereby ORDERED as follows:

        1.   The Application is hereby APPROVED.

        2.   Defined terms not otherwise defined herein have the meanings given to

them in the Application and the Affidavit.

        3.   The Trustee is authorized to retain and compensate BKRES and local

licensed Listing Agent to provide the necessary professional assistance and

representation required by the Trustee to fulfill the Trustee’s duties pursuant

to 11 U.S.C. § 704 in order to procure Secured Creditor’s Consent, and otherwise

market and sell the Property, in Debtors’ Chapter 7 case pursuant to Sections 327,

328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in

accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity unless specifically

approved by this court.



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        4.   BKRES and Listing Agent are disinterested persons within the meaning

of Bankruptcy Code Section 101(14).

        5.   BKRES and Listing Agent shall be compensated in accordance with the

BKRES Agreement and Listing Agreement, respectively, and such compensation

shall not hereafter be subject to challenge except under the standard of review set

forth in Section 330 of the Bankruptcy Code.

        6.   BKRES and Listing Agent shall be authorized to receive and retain their

fees from Secured Creditor at the successful closing of the sale of the Property

without necessity of further order of the Court. The estate shall, in no circumstance,

be obligated to compensate or reimburse BKRES or Listing Agent in such event and

BKRES and Listing Agent shall not have a claim against the estate for any unpaid

amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor.

The estate shall have no liability for any such claim.




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        7.   Trustee is hereby authorized to engage Brokers BKRES and Listing

Agent to provide reasonable and necessary property preservation, maintenance, and

upkeep services to the subject estate Property to facilitate the sale of the Property for

the benefit of the Secured Creditor(s) and bankruptcy estate, and to reimburse the

Brokers in a maximum amount not to exceed $500.00 for the approved reasonable,

necessary costs and expenses of preserving, or disposing of, the subject Property,

without the need for further Order only upon a sale of the Property.

        8.   This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation of this Order.

                           March 22, 2019
      DONE AND ORDERED on _________________________.




                                         ____________________________________
                                         KAREN K. SPECIE
                                         U.S. Bankruptcy Judge


Submitted By:
Mary W. Colόn, Esq.,
Chapter 7 Trustee



Trustee Mary W. Colόn is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of entry of the order.




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